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07                             UNITED STATES DISTRICT COURT
                              WESTERN DISTRICT OF WASHINGTON
08                                      AT SEATTLE

09 UNITED STATES OF AMERICA,              )             CASE NO.: CR05-321-RSL
                                          )
10         Plaintiff,                     )
                                          )
11         v.                             )             DETENTION ORDER
                                          )
12   TIFFANY F. SARDEN                    )
                                          )
13         Defendant.                     )
     ____________________________________ )
14

15 Offense charged:

16          Conspiracy to Commit Identity Theft, Possession of Document Making Implements, and

17 Production of False Identification Documents; Bank Fraud (Seven Counts)

18 Date of Detention Hearing:      September 12, 2005

19          The Court, having conducted a detention hearing pursuant to 18 U.S.C. § 3142(f), and

20 based upon the factual findings and statement of reasons for detention hereafter set forth, finds

21 that no condition or combination of conditions which defendant can meet will reasonably assure

22 the appearance of defendant as required and the safety of other persons and the community.

23          FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION

24          (1)     The defendant and her co-defendant have been indicted for conspiring to use the

25 means of identification of other persons to produce false identification documents, and then to use

26 the documents to obtain cash from banks, merchants and other entities.


     DETENTION ORDER                                                                          15.13
     18 U.S.C. § 3142(i)                                                                   Rev. 1/91
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01          (2)     The defendant has a criminal history that includes forgery, multiple warrant arrests,

02 theft 2nd degree, bank fraud, bond violation: failure to reside at a halfway house (escape), and

03 supervised release violation. The United States Probation Office reports that the defendant, while

04 on probation, committed four violations of supervised release which resulted in a warrant for her

05 arrest. When the U.S. Marshals attempted to arrest her for the violations, she jumped from the

06 third story of a building and escaped. She was eventually apprehended and served 15 months for

07 supervised release revocation. At the time of her arrest for the instant offense, she was residing

08 at an address other than the one which she provided to her probation officer.

09          (3)     The defendant poses a risk of nonappearance because her criminal history includes

10 several warrant arrests, prior pretrial revocation as a result of escaping from a halfway house, and

11 violations and a warrant arrest while on probation. She poses a risk of danger based on the nature

12 of the current charges, criminal history and noncompliance with prior terms of supervision.

13 Furthermore, the current offense is alleged to have been committed while she was on probation.

14          (4)     There does not appear to be any condition or combination of conditions that will

15 reasonably assure the defendant’s appearance at future Court hearings while addressing the danger

16 to other persons or the community.

17 It is therefore ORDERED:

18          (1)     Defendant shall be detained pending trial and committed to the custody of the

19                  Attorney General for confinement in a correction facility separate, to the extent

20                  practicable, from persons awaiting or serving sentences or being held in custody

21                  pending appeal;

22          (2)     Defendant shall be afforded reasonable opportunity for private consultation with

23                  counsel;

24          (3)     On order of a court of the United States or on request of an attorney for the

25                  Government, the person in charge of the corrections facility in which defendant is

26                  confined shall deliver the defendant to a United States Marshal for the purpose of


     DETENTION ORDER                                                                             15.13
     18 U.S.C. § 3142(i)                                                                      Rev. 1/91
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01               an appearance in connection with a court proceeding; and

02         (4)   The clerk shall direct copies of this Order to counsel for the United States, to

03               counsel for the defendant, to the United States Marshal, and to the United States

04               Pretrial Services Officer.

05         DATED this 12th day of September, 2005.



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                                               Mary Alice Theiler
08                                             United States Magistrate Judge

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     DETENTION ORDER                                                                       15.13
     18 U.S.C. § 3142(i)                                                                Rev. 1/91
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